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ATTORNEYS FOR DEBTORS
AND DEBTORS IN POSSESSION


                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION
_____________________________________
In re:                                 §      Chapter 11
                                       §
NGV GLOBAL GROUP, INC.,                §      Case No. 22-42780-MXM-11
                                       §
            Debtor.                    §
____________________________________ §


     GLOBAL NOTES REGARDING DEBTOR’S STATEMENT OF FINANCIAL AFFAIRS




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These Global Notes (the “Global Notes”) regarding the Statement of Financial Affairs of
NGV Global Group, Inc. (the "Debtor") comprise an integral part of the Statement of
Financial Affairs and should be referred to and considered in connection with any review
of them.

The Debtor's Statement of Financial Affairs (the “Statement”) has been prepared pursuant to
section 521 of title 11 of the United States Code, U.S.C. §§ 101, et seq. (the “Bankruptcy Code”),
and Rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) by
personnel of the Debtor with the assistance of its advisors. The Global Notes pertain to all of the
Statements. The financial data in the Statements are unaudited.

The financial affairs and business of the Debtor are complex. While the Debtor’s management
has made reasonable efforts to ensure that the Statement is accurate and complete based on
information that was available to them at the time of preparation, the subsequent receipt or
discovery of information and/or further review and analysis of the Debtor’s books and records may
result in material changes to financial data and other information contained in the Statement.
Moreover, because the Statement contains unaudited information, which is subject to further
review and potential adjustment, there can be no assurance that the Statement is complete and
accurate. Furthermore, nothing contained in the Statement shall constitute a waiver of the
Debtor’s rights or an admission with respect to this chapter 11 case, including, without limitation,
any issues involving equitable subordination and/or causes of action arising under the provisions
of chapter 5 of the Bankruptcy Code and other relevant applicable laws to recover assets or avoid
transfers.

Information Subject to Confidentiality. There may be instances within the Statement where
names, addresses, amounts or other details have been omitted. Due to the nature of certain
agreements between the Debtor and the third party, concerns of confidentiality or concerns for
the privacy of an individual, the Debtor may have deemed it appropriate and necessary to avoid
listing such names, addresses and amounts or providing such details.

Amendment. While reasonable efforts were made to file complete and accurate Statements,
inadvertent errors or omissions may exist. The Debtor reserves all rights to amend and/or
supplement its Statements as is necessary and appropriate.

Basis of Presentation. While the Statements, at times, may incorporate information prepared in
accordance with generally accepted accounting principles (“GAAP”), the Statements do not
purport to represent financial information prepared in accordance with GAAP.

Insiders. Persons listed as “insiders” have been included for informational purposes only and
should not be construed as a legal characterization of such party as an insider and does not act
as an admission of any fact, claim, right or defense and all such rights, claims and defenses are
hereby expressly reserved. Further, the Debtor does not take any position with respect to (a)
such person’s influence over the control of the Debtor, (b) the management responsibilities or
functions of such individual, (c) the decision-making or corporate authority of such individual or
(d) whether such individual could successfully argue that he or she is not an “insider” under



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applicable law. The Debtor presumes that persons who are not corporate officers of the Debtor
are not “officers” for purposes of determining insider status, regardless of job title.

SOFA Part 1(1) - Revenue. The Debtor is a holding company and does not have any operations
from which it generates revenue. Revenue amounts listed on SOFA #1 represent distributions
the Debtor has received from its operating subsidiaries.

SOFA Part 11(21) – Property held for another - The NGV Global Group (including all
associated entities) employs approximately 50 mechanics to repair, maintain and convert
vehicles from diesel fuel to natural gas vehicles. The NGV Global Group maintains a traditional
relationship with the mechanics where they provide their own tools and toolboxes. At the
beginning of the employment relationship, the mechanic transports his or her tools and
toolbox(s) to the Debtors location and the tools remain there until the end of the employment
relationship. While the tools stay on the premises for the entire tenure of the mechanics
employment, the tools remain the property of the individual employees. Debtors have not
included these tools in their Schedules AB. The Debtors do not have an inventory of these
employee-owned tools and have thus not included them in the responses to SOFA 21.


                                                          ***

The Debtor and its agents, attorneys and financial advisors do not guarantee or warrant the
accuracy, completeness, or currentness of the data that is provided herein and shall not be liable
for any loss or injury arising out of or caused in whole or in part by the acts, errors or omissions,
whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communication or delivering the information contained herein. While every effort has been made
to provide accurate and complete information herein, inadvertent errors and omissions may exist.

L:\JPROSTOK\Natural Gas Logistics, Inc. (NGV Global) #6321 WO\Schedule Info\Global Notes - Global SOFA 1.3.23.docx




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 Fill in this information to identify the case:
 Debtor name        NGV Global Group, Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number        22-42780-11-mxm
 (if known)                                                                                                  Check if this is an
                                                                                                              amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:        Income
1.   Gross revenue from business

        None

Identify the beginning and ending dates of the debtor's fiscal year,          Sources of revenue                            Gross revenue
which may be a calendar year                                                  Check all that apply.                         (before deductions
                                                                                                                            and exclusions


From the beginning of the                                                        Operating a business
                                From    01/01/2022      to   Filing date
fiscal year to filing date:                                                       Other
                                       MM / DD / YYYY                                                                                 $850.00

                                                                                 Operating a business
For prior year:                 From    01/01/2021      to     12/31/2021
                                       MM / DD / YYYY        MM / DD / YYYY      Other                                       $31,265,076.47

                                                                                 Operating a business
For the year before that:       From    01/01/2020      to     12/31/2020
                                       MM / DD / YYYY        MM / DD / YYYY      Other                                       $10,492,796.97

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
     lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

                                                                               Description of sources of revenue              Gross revenue
                                                                                                                              from each source
                                                                                                                              (before deductions
                                                                                                                              and exclusions
From the beginning of the
                                From    01/01/2022      to   Filing date                                                                  $0.00
fiscal year to filing date:
                                       MM / DD / YYYY

For prior year:                 From    01/01/2021      to     12/31/2021      Interest                                                   $3.15
                                       MM / DD / YYYY        MM / DD / YYYY

For the year before that:       From    01/01/2020      to     12/31/2020                                                                 $0.00
                                       MM / DD / YYYY        MM / DD / YYYY

                                                                               Description of sources of revenue              Gross revenue
                                                                                                                              from each source
                                                                                                                              (before deductions
                                                                                                                              and exclusions
From the beginning of the
                                From    01/01/2022      to   Filing date                                                                  $0.00
fiscal year to filing date:
                                       MM / DD / YYYY

For prior year:                 From    01/01/2021      to     12/31/2021      Loan Forgiveness (PPP)                               $102,100.00
                                       MM / DD / YYYY        MM / DD / YYYY

For the year before that:       From    01/01/2020      to     12/31/2020                                                                 $0.00
                                       MM / DD / YYYY        MM / DD / YYYY


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               Name


 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy
3.   Certain payments or transfers to creditors within 90 days before filing this case

     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
     adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)


        None

      Creditor's name and address                                  Dates            Total amount or value        Reasons for payment or transfer
                                                                                                                 Check all that apply
3.1. See attached SOFA Exhibit 3
                                                                                                                    Secured debt
      Creditor's name
                                                                                                                    Unsecured loan repayments
      Street
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other
      City                              State    ZIP Code

4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider

     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of
     adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
     and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
     any managing agent of the debtor. 11 U.S.C. § 101(31).


        None

      Insider's name and address                                   Dates            Total amount or value        Reasons for payment or transfer
4.1. See attached SOFA Exhibit 4
      Insider's name

      Street




      City                              State    ZIP Code

      Relationship to debtor



5.   Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
     creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
     line 6.


        None




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                 Name

6.     Setoffs

       List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
       an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
       the debtor owed a debt.


          None

Creditor's name and address                                  Description of the action creditor took                   Date action      Amount
                                                                                                                       was taken
MapleMark Bank                                               Offset                                                    11/17/2022         $501,028.12
Creditor's name
4143 Maple Ave., Suite 100
Street


Dallas                             TX       75219            Last 4 digits of account number: XXXX- 5         3    5     1
City                               State    ZIP Code


  Part 3:         Legal Actions or Assignments
7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
       List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
       was involved in any capacity--within 1 year before filing this case.


          None

         Case title                            Nature of case                            Court or agency's name and address                Status of case
 7.1. Mike Albert, Ltd. v Natural              Breach of Contract                        116th District Court
                                                                                                                                              Pending
         Gas Supply, LLC, Natural                                                        Name
         Gas Logistics Inc., NGV                                                         Dallas County, Texas                                 On appeal
         Global Group, Inc., Natural                                                     Street
                                                                                                                                              Concluded
         Gas School Bus, LLC,                                                            600 Commerce St., Box 640
         Natural Gas Vehicles Texas,
         Inc. and Farroukh Syed Zaidi                                                    Dallas                     TX       75202
         Case number
                                                                                         City                       State    ZIP Code
         DC-22-04429

8.     Assignments and receivership

       List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
       hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None

  Part 4:         Certain Gifts and Charitable Contributions
9.     List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
       aggregate value of the gifts to that recipient is less than $1,000

          None

  Part 5:         Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None




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                Name


 Part 6:          Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.


         None

         Who was paid or who received the transfer?            If not money, describe any property              Dates                Total amount
                                                               transferred                                                           or value
 11.1. Forshey & Prostok, LLP                                                                                   11/1/2022              $103,552.50
                                                                                                                $3,552.50
         Address                                                                                                1/15/2022
         777 Main St., Suite 1550                                                                               $100,000.00
         Street


         Fort Worth                   TX      76102
         City                         State   ZIP Code

         Email or website address
         www.forsheyprostok.com

         Who made the payment, if not debtor?
         $3552.50 paid by Logistics

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.


         None

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.


         None

 Part 7:          Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

         Does not apply




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             Name


 Part 8:        Health Care Bankruptcies
15. Health Care bankruptcies

     Is the debtor primarily engaged in offering services and facilities for:

      diagnosing or treating injury, deformity, or disease, or

      providing any surgical, psychiatric, drug treatment, or obstetric care?

        No. Go to Part 9.
        Yes. Fill in the information below.

 Part 9:        Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

        No.
        Yes. State the nature of the information collected and retained

                Does the debtor have a privacy policy about that information?
                 No.
                 Yes.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

        No. Go to Part 10.
        Yes. Does the debtor serve as plan administrator?
               No. Go to Part 10.
               Yes. Fill in below:
 Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.


        None

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

        None

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

        None




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               Name


    Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


          None

Owner's name and address                        Location of the property                       Description of the property          Value

-                                                                                              2020 Mercedes-Benz G-
Name                                                                                           Class VIN8830
                                                                                               being stored for individual
Street




City                      State   ZIP Code

Owner's name and address                        Location of the property                       Description of the property          Value

-                                                                                              Various equipment and
Name                                                                                           machinery stored for CNG
                                                                                               Delivery LLC and Maximum
Street                                                                                         Hydrogen




City                      State   ZIP Code


    Part 12:      Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

 Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
  the medium affected (air, land, water, or any other medium).


 Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
  formerly owned, operated, or utilized.

 Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
  similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

          No
          Yes. Provide details below.




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                Name

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

         No
         Yes. Provide details below.

24. Has the debtor notified any govermental unit of any release of hazardous material?

         No
         Yes. Provide details below.

 Part 13:         Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

         None

         Business name and address                    Describe the nature of the business        Employer Identification number
 25.1. Natural Gas Vehicles Texas, Inc.               Vehicle Conversion                         Do not include Social Security number or ITIN.
         Name
         10733 Spangler Rd.                                                                      EIN: 2      6 – 3      7    6     8    6      7   6
         Street
                                                                                                 Dates business existed

         Dallas                  TX      75220                                                   From     1/20/2008         To   Present
         City                    State   ZIP Code

         Business name and address                    Describe the nature of the business        Employer Identification number
 25.2. Natural Gas Logistics Inc.                     Trucking/Transportation                    Do not include Social Security number or ITIN.
         Name
         10733 Spangler Rd.                                                                      EIN: 8      4 – 4      3    6     5    4      0   3
         Street
                                                                                                 Dates business existed

         Dallas                  TX      75220                                                   From      1/2/2020         To   Present
         City                    State   ZIP Code

         Business name and address                    Describe the nature of the business        Employer Identification number
 25.3. Natural Gas Supply, LLC                        Transportation                             Do not include Social Security number or ITIN.
         Name
         10733 Spangler Rd.                                                                      EIN: 8      1 – 0      8    9     4    5      8   4
         Street
                                                                                                 Dates business existed

         Dallas                  TX      75220                                                   From     12/9/2015         To   Present
         City                    State   ZIP Code

         Business name and address                    Describe the nature of the business        Employer Identification number
 25.4. Natural Gas School Bus LLC                     Vehicle Improvement                        Do not include Social Security number or ITIN.
         Name
         10733 Spangler Rd.                                                                      EIN: 8      1 – 4      9    7     2    4      4   7
         Street
                                                                                                 Dates business existed

         Dallas                  TX      75220                                                   From      9/3/2015         To   Present
         City                    State   ZIP Code




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              Name

26. Books, records, and financial statements

    26a.     List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                 None

                 Name and address                                                                   Dates of service

      26a.1. Mark Conner, CPA                                                                       From        2018          To    Present
                 Name
                 5050 Quorum Dr., Suite 700
                 Street


                 Dallas                                       TX          75254
                 City                                         State       ZIP Code

                 Name and address                                                                   Dates of service

      26a.2. Stuart Todd Militzer                                                                   From     2/16/2022        To 12/16/2022
                 Name
                 10733 Spangler Rd.
                 Street


                 Dallas                                       TX          75220
                 City                                         State       ZIP Code

                 Name and address                                                                   Dates of service

      26a.3. Allen Parrott                                                                          From     1/4/2021         To   8/13/2021
                 Name
                 10733 Spangler Rd.
                 Street


                 Dallas                                       TX          75220
                 City                                         State       ZIP Code

    26b.     List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
             statement within 2 years before filing this case.

                 None

                 Name and address                                                                   Dates of service

      26b.1. Richard Brozewicz, CPA                                                                 From        2020          To    Present
                 Name
                 richard.brozewicz@brozewiczcpa.com
                 Street




                 City                                         State       ZIP Code

    26c.     List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

                 None

                 Name and address                                                               If any books of account and records are
                                                                                                unavailable, explain why
         26c.1. Farroukh Zaidi
                 Name
                 10733 Spangler Rd.
                 Street


                 Dallas                                       TX          75220
                 City                                         State       ZIP Code




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                 Name and address                                                                 If any books of account and records are
                                                                                                  unavailable, explain why
         26c.2. Stuart Todd Militzer
                 Name
                 10733 Spangler Rd.
                 Street


                 Dallas                                        TX          75220
                 City                                          State       ZIP Code

     26d.    List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
             financial statement within 2 years before filing this case.

                 None

                 Name and address

       26d.1. Routinely provided to vendors and banks
                 Name

                 Street




                 City                                          State       ZIP Code

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

          No.
          Yes. Give the details about the two most recent inventories.

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                      Address                                      Position and nature of any interest         % of interest, if any

Farroukh Zaidi                            10733 Spangler Rd.                           CEO / Equity                                        100%
                                          Dallas, TX 75220
29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

          No
          Yes. Identify below.

Name                                      Address                                      Position and nature of        Period during which position
                                                                                       any interest                  or interest was held




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                Name

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

         No
         Yes. Identify below.

         Name and address of recipient                  Amount of money or description         Dates              Reason for
                                                        and value of property                                     providing the value


 30.1. See SOFA 4
         Name

         Street




         City                    State   ZIP Code

         Relationship to debtor



31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

         No
         Yes. Identify below.

Name of the parent corporation                                                   Employer Identification number of the parent corporation
NGV Global Group, Inc.                                                           EIN: 8      4 – 2       9    2     9    7   2    3
32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

         No
         Yes. Identify below.

 Part 14:         Signature and Declaration
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
true and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 01/18/2023
            MM / DD / YYYY



X /s/ Farroukh Zaidi                                                               Printed name Farroukh Zaidi
   Signature of individual signing on behalf of the debtor

   Position or relationship to debtor Chief Executive Officer


Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 10
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NVG Global Group Inc.
EXHIBIT 3

  Payee                               Date         Amount          Reason for Payment
  COMDATA                               8/19/2022       13,249.03             Other: Fuel card
  COMDATA                               8/26/2022       18,276.32             Other: Fuel card
  COMDATA                                 9/2/2022      11,617.08             Other: Fuel card
  COMDATA                                 9/9/2022        7,154.41            Other: Fuel card
  COMDATA                               9/19/2022       19,553.05             Other: Fuel card
  COMDATA                               9/26/2022       16,407.25             Other: Fuel card
  COMDATA                               10/3/2022       22,482.90             Other: Fuel card
  COMDATA                              10/11/2022       41,544.08             Other: Fuel card
  COMDATA                              10/17/2022       17,340.21             Other: Fuel card
  COMDATA                              10/24/2022       29,718.08             Other: Fuel card
  COMDATA                              10/31/2022       23,892.89             Other: Fuel card
  COMDATA                               11/7/2022       35,638.33             Other: Fuel card
  COMDATA                              11/15/2022       39,012.10             Other: Fuel card
  COMDATA Total                                        295,885.73
  AMEX                                    9/8/2022      20,000.00       Unsecured Loan Repayment
  AMEX                                    9/9/2022      23,357.11       Unsecured Loan Repayment
  AMEX                                  10/7/2022      107,600.99       Unsecured Loan Repayment
  AMEX                                 10/19/2022       35,524.00       Unsecured Loan Repayment
  AMEX                                 11/14/2022           518.98      Unsecured Loan Repayment
  AMEX Total                                           187,001.08
  AFCO                                  8/23/2022       54,540.50    Other: Insurance Premium Finance
  AFCO                                  9/13/2022       51,957.98    Other: Insurance Premium Finance
  AFCO                                 10/11/2022         8,511.15   Other: Insurance Premium Finance
  AFCO                                 10/25/2022       54,409.11    Other: Insurance Premium Finance
  AFCO Total                                           169,418.74
  IRS                                   9/15/2022       50,716.58                  Taxes
  IRS                                   9/29/2022           150.00                 Taxes
  IRS                                   10/3/2022      114,753.42                  Taxes
  IRS                                   11/7/2022       14,972.31                  Taxes
  IRS Total                                            180,592.31
  MapleMark Bank                        8/30/2022       31,943.64               Secured debt
  MapleMark Bank                        10/6/2022       18,738.54               Secured debt
  MapleMark Bank                        10/7/2022       15,849.89               Secured debt
  MapleMark Bank                        11/4/2022       40,032.50               Secured debt
  MapleMark Bank Total                                 106,564.57
  First Capital Bank of Texas           8/22/2022         8,168.84              Secured debt
  First Capital Bank of Texas           8/29/2022       25,787.61               Secured debt
  First Capital Bank of Texas           9/20/2022       33,956.45               Secured debt
  First Capital Bank of Texas          10/31/2022       33,956.45               Secured debt
  First Capital Bank of Texas Total                    101,869.35
  Forshey & Prostok                    11/15/2022      100,000.00                 Services
  Forshey & Prostok Total                              100,000.00
  Emeri Construction Group              9/27/2022       10,000.00                 Services
  Emeri Construction Group              10/7/2022       10,000.00                 Services
  Emeri Construction Group             10/12/2022       10,000.00                 Services
  Emeri Construction Group             10/18/2022       30,819.20                 Services
  Emeri Construction Group             10/25/2022       10,000.00                 Services
  Emeri Construction Group             10/26/2022         9,200.00                Services
  Emeri Construction Group              11/8/2022       10,576.80                 Services
  Emeri Construction Group Total                        90,596.00
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NVG Global Group Inc.
EXHIBIT 3

  Payee                             Date         Amount          Reason for Payment
  OSI 2001 Manana Dr LLC             11/16/2022       85,542.18                   Rent
  OSI 2001 Manana Dr LLC Total                        85,542.18
  AETNA                               9/30/2022       75,216.81                Insurance
  AETNA Total                                         75,216.81
  OSI 10737 Spangler Rd LLC          11/16/2022       59,620.31                   Rent
  OSI 10737 Spangler Rd LLC Total                     59,620.31
  Madina Construction LLC             8/29/2022       50,000.00                 Services
  Madina Construction LLC Total                       50,000.00
  John Carney                         8/26/2022       15,000.00                 Services
  John Carney                        11/15/2022       25,000.00                 Services
  John Carney Total                                   40,000.00
  Mario Rodriguez                     9/20/2022       12,500.00                   Rent
  Mario Rodriguez                    10/24/2022       14,434.00                   Rent
  Mario Rodriguez Total                               26,934.00
  Tara Energy LLC                     9/16/2022         7,085.96                Utilities
  Tara Energy LLC                    10/17/2022         5,760.25                Utilities
  Tara Energy LLC                    11/16/2022         4,699.47                Utilities
  Tara Energy LLC Total                               17,545.68
  Cesar Torres                          9/2/2022        3,500.00             Contract labor
  Cesar Torres                        10/3/2022         3,500.00             Contract labor
  Cesar Torres                       10/24/2022         3,823.18             Contract labor
  Cesar Torres                       11/14/2022         5,000.00             Contract labor
  Cesar Torres Total                                  15,823.18
  First National capital             10/21/2022       15,000.00                 Services
  First National capital Total                        15,000.00
  Joe Shearin                         9/28/2022       15,000.00                 Services
  Joe Shearin Total                                   15,000.00
  Christopher White                   8/19/2022       14,681.42             Legal settlement
  Christopher White Total                             14,681.42
  Citi                                8/19/2022         1,320.00      Unsecured Loan Repayment
  Citi                                8/26/2022         1,990.00      Unsecured Loan Repayment
  Citi                                8/29/2022         1,500.00      Unsecured Loan Repayment
  Citi                                  9/1/2022        1,925.00      Unsecured Loan Repayment
  Citi                                9/12/2022            49.15      Unsecured Loan Repayment
  Citi                                10/3/2022           120.00      Unsecured Loan Repayment
  Citi                               10/20/2022         1,769.75      Unsecured Loan Repayment
  Citi                               10/26/2022         4,500.00      Unsecured Loan Repayment
  Citi                               10/31/2022           675.31      Unsecured Loan Repayment
  Citi                               11/16/2022           140.00      Unsecured Loan Repayment
  Citi Total                                          13,989.21
  Jackson Spencer Law, PLLC           8/19/2022       10,830.00                 Services
  Jackson Spencer Law, PLLC Total                     10,830.00
  Metropolitan Gate Inc               9/19/2022       10,000.00                 Services
  Metropolitan Gate Inc Total                         10,000.00
  ANGI                                9/19/2022         9,438.57                Services
  ANGI Total                                            9,438.57
  John Ames, Tax Collector            9/16/2022           528.00             Property Taxes
  John Ames, Tax Collector            9/22/2022           165.00             Property Taxes
  John Ames, Tax Collector            9/23/2022           278.00             Property Taxes
  John Ames, Tax Collector            10/3/2022           330.00             Property Taxes
  John Ames, Tax Collector            10/5/2022         7,870.32             Property Taxes
  John Ames, Tax Collector Total                        9,171.32
  Addison Group                       8/25/2022         8,954.10                Services
  Addison Group Total                                   8,954.10
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NVG Global Group Inc.
EXHIBIT 4

  Payee                         Date       Amount                 Reason for Payment
  NGV Admin & HR                 11/4/2021          200,000.00   Leased employee costs
  NGV Admin & HR                11/10/2021           50,000.00   Leased employee costs
  NGV Admin & HR                11/15/2021           70,000.00   Leased employee costs
  NGV Admin & HR                11/17/2021          310,000.00   Leased employee costs
  NGV Admin & HR                11/22/2021           65,000.00   Leased employee costs
  NGV Admin & HR                11/24/2021           75,000.00   Leased employee costs
  NGV Admin & HR                11/29/2021           56,000.00   Leased employee costs
  NGV Admin & HR                 12/2/2021          265,000.00   Leased employee costs
  NGV Admin & HR                 12/3/2021            5,000.00   Leased employee costs
  NGV Admin & HR                 12/6/2021           51,000.00   Leased employee costs
  NGV Admin & HR                 12/7/2021            5,000.00   Leased employee costs
  NGV Admin & HR                 12/9/2021           43,000.00   Leased employee costs
  NGV Admin & HR                12/23/2021          100,000.00   Leased employee costs
  NGV Admin & HR                  1/3/2022          100,000.00   Leased employee costs
  NGV Admin & HR                  1/4/2022          215,000.00   Leased employee costs
  NGV Admin & HR                  1/7/2022           50,000.00   Leased employee costs
  NGV Admin & HR                 1/10/2022           50,000.00   Leased employee costs
  NGV Admin & HR                 1/12/2022          300,000.00   Leased employee costs
  NGV Admin & HR                 1/13/2022           53,500.00   Leased employee costs
  NGV Admin & HR                 1/14/2022           10,000.00   Leased employee costs
  NGV Admin & HR                 1/18/2022           70,000.00   Leased employee costs
  NGV Admin & HR                 1/19/2022           50,000.00   Leased employee costs
  NGV Admin & HR                 1/24/2022           58,000.00   Leased employee costs
  NGV Admin & HR                 1/27/2022          181,900.00   Leased employee costs
  NGV Admin & HR                  2/3/2022           11,800.00   Leased employee costs
  NGV Admin & HR                  2/7/2022           70,000.00   Leased employee costs
  NGV Admin & HR                  2/8/2022            3,000.00   Leased employee costs
  NGV Admin & HR                 2/14/2022           51,350.00   Leased employee costs
  NGV Admin & HR                 2/16/2022          101,000.00   Leased employee costs
  NGV Admin & HR                 2/17/2022           90,000.00   Leased employee costs
  NGV Admin & HR                 2/18/2022           30,000.00   Leased employee costs
  NGV Admin & HR                 2/24/2022          362,000.00   Leased employee costs
  NGV Admin & HR                 2/28/2022            6,900.00   Leased employee costs
  NGV Admin & HR                  3/3/2022           60,000.00   Leased employee costs
  NGV Admin & HR                  3/4/2022            2,000.00   Leased employee costs
  NGV Admin & HR                  3/7/2022           26,000.00   Leased employee costs
  NGV Admin & HR                 3/17/2022           33,000.00   Leased employee costs
  NGV Admin & HR                 3/24/2022          204,553.46   Leased employee costs
  NGV Admin & HR                 3/31/2022           25,475.10   Leased employee costs
  NGV Admin & HR                  4/1/2022           15,000.00   Leased employee costs
  NGV Admin & HR                  4/4/2022           50,900.00   Leased employee costs
  NGV Admin & HR                  4/7/2022            1,100.00   Leased employee costs
  NGV Admin & HR                 4/14/2022           66,100.00   Leased employee costs
  NGV Admin & HR                 4/15/2022           30,000.00   Leased employee costs
  NGV Admin & HR                 4/18/2022           15,000.00   Leased employee costs
  NGV Admin & HR                 4/19/2022            1,500.00   Leased employee costs
  NGV Admin & HR                 4/21/2022          180,000.00   Leased employee costs
  NGV Admin & HR                 4/25/2022           60,000.00   Leased employee costs
  NGV Admin & HR                 4/27/2022           50,000.00   Leased employee costs
  NGV Admin & HR                  5/4/2022          390,000.00   Leased employee costs
  NGV Admin & HR                 5/19/2022           54,000.00   Leased employee costs
  NGV Admin & HR                 5/20/2022            2,000.00   Leased employee costs
  NGV Admin & HR                 5/23/2022           34,000.00   Leased employee costs
  NGV Admin & HR                 5/26/2022        1,050,000.00   Leased employee costs
  NGV Admin & HR                  6/7/2022          120,000.00   Leased employee costs
  NGV Admin & HR                 6/14/2022            3,000.00   Leased employee costs
  NGV Admin & HR                 6/16/2022          300,000.00   Leased employee costs
  NGV Admin & HR                 6/17/2022          300,000.00   Leased employee costs
  NGV Admin & HR                 6/23/2022           90,000.00   Leased employee costs
  NGV Admin & HR                 6/27/2022           50,000.00   Leased employee costs
  NGV Admin & HR                 6/28/2022           50,000.00   Leased employee costs
  NGV Admin & HR                 6/30/2022          400,000.00   Leased employee costs
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  Payee                         Date       Amount                 Reason for Payment
  NGV Admin & HR                  7/8/2022           55,000.00   Leased employee costs
  NGV Admin & HR                 7/20/2022           90,000.00   Leased employee costs
  NGV Admin & HR                 7/21/2022          116,000.00   Leased employee costs
  NGV Admin & HR                 7/25/2022           50,000.00   Leased employee costs
  NGV Admin & HR                 7/28/2022          328,801.46   Leased employee costs
  NGV Admin & HR                  8/3/2022           95,000.00   Leased employee costs
  NGV Admin & HR                  8/5/2022            5,000.00   Leased employee costs
  NGV Admin & HR                  8/8/2022           44,100.00   Leased employee costs
  NGV Admin & HR                 8/19/2022            8,500.00   Leased employee costs
  NGV Admin & HR                 8/23/2022            5,000.00   Leased employee costs
  NGV Admin & HR                 8/24/2022          405,595.09   Leased employee costs
  NGV Admin & HR                  9/1/2022           25,000.00   Leased employee costs
  NGV Admin & HR                  9/7/2022           80,000.00   Leased employee costs
  NGV Admin & HR                  9/8/2022          150,000.00   Leased employee costs
  NGV Admin & HR                  9/9/2022           70,000.00   Leased employee costs
  NGV Admin & HR                 9/22/2022           40,000.00   Leased employee costs
  NGV Admin & HR                 9/26/2022            5,000.00   Leased employee costs
  NGV Admin & HR                 9/27/2022            5,000.00   Leased employee costs
  NGV Admin & HR                 10/3/2022           10,800.00   Leased employee costs
  NGV Admin & HR                10/13/2022           48,900.00   Leased employee costs
  NGV Admin & HR                10/14/2022            5,000.00   Leased employee costs
  NGV Admin & HR                10/17/2022           20,000.00   Leased employee costs
  NGV Admin & HR                10/27/2022          107,500.00   Leased employee costs
  NGV Admin & HR                10/31/2022           13,000.00   Leased employee costs
  NGV Admin & HR                 11/9/2022           43,000.00   Leased employee costs
  NGV Admin & HR                11/15/2022              120.31   Leased employee costs
  NGV Admin & HR                11/17/2022          321,000.00   Leased employee costs
  NGV Admin & HR Total                            8,970,395.42
  Natural Gas Logistics          11/4/2021        1,080,000.00   Intercompany transfer
  Natural Gas Logistics         11/30/2021           13,000.00   Intercompany transfer
  Natural Gas Logistics         12/30/2021          971,832.00   Intercompany transfer
  Natural Gas Logistics           1/3/2022          750,000.00   Intercompany transfer
  Natural Gas Logistics           1/4/2022           15,000.00   Intercompany transfer
  Natural Gas Logistics          1/19/2022           30,000.00   Intercompany transfer
  Natural Gas Logistics          1/20/2022            4,000.00   Intercompany transfer
  Natural Gas Logistics          1/26/2022           50,000.00   Intercompany transfer
  Natural Gas Logistics           2/7/2022            5,900.00   Intercompany transfer
  Natural Gas Logistics          2/16/2022          100,000.00   Intercompany transfer
  Natural Gas Logistics          2/23/2022           50,000.00   Intercompany transfer
  Natural Gas Logistics          3/10/2022            6,000.00   Intercompany transfer
  Natural Gas Logistics          3/17/2022           11,500.00   Intercompany transfer
  Natural Gas Logistics          3/18/2022           13,000.00   Intercompany transfer
  Natural Gas Logistics          3/29/2022           15,000.00   Intercompany transfer
  Natural Gas Logistics          3/31/2022            2,500.00   Intercompany transfer
  Natural Gas Logistics           4/1/2022           10,000.00   Intercompany transfer
  Natural Gas Logistics          4/22/2022           10,500.00   Intercompany transfer
  Natural Gas Logistics          4/27/2022           10,000.00   Intercompany transfer
  Natural Gas Logistics           5/3/2022           10,000.00   Intercompany transfer
  Natural Gas Logistics          5/20/2022           30,000.00   Intercompany transfer
  Natural Gas Logistics          5/26/2022          335,000.00   Intercompany transfer
  Natural Gas Logistics           6/7/2022           85,000.00   Intercompany transfer
  Natural Gas Logistics          6/21/2022           30,000.00   Intercompany transfer
  Natural Gas Logistics           8/4/2022          200,000.00   Intercompany transfer
  Natural Gas Logistics          8/11/2022           30,000.00   Intercompany transfer
  Natural Gas Logistics          8/23/2022           50,000.00   Intercompany transfer
  Natural Gas Logistics          8/31/2022           17,000.00   Intercompany transfer
  Natural Gas Logistics          9/27/2022            4,000.00   Intercompany transfer
  Natural Gas Logistics          9/28/2022           15,000.00   Intercompany transfer
  Natural Gas Logistics         10/11/2022           25,000.00   Intercompany transfer
  Natural Gas Logistics         10/14/2022           27,100.00   Intercompany transfer
  Natural Gas Logistics         10/17/2022           16,000.00   Intercompany transfer
  Natural Gas Logistics         10/27/2022           10,300.00   Intercompany transfer
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EXHIBIT 4

  Payee                                 Date       Amount                          Reason for Payment
  Natural Gas Logistics                 10/31/2022              5,000.00          Intercompany transfer
  Natural Gas Logistics                  11/8/2022             20,000.00          Intercompany transfer
  Natural Gas Logistics Total                               4,057,632.00
  Farroukh Zaidi                          2/16/2022           500,000.00   Shareholder advance / loan repayment
  Farroukh Zaidi                          4/25/2022            95,000.00   Shareholder advance / loan repayment
  Farroukh Zaidi                          5/20/2022            17,000.00   Shareholder advance / loan repayment
  Farroukh Zaidi                          6/17/2022           300,000.00   Shareholder advance / loan repayment
  Farroukh Zaidi                           8/5/2022            30,000.00   Shareholder advance / loan repayment
  Farroukh Zaidi                          8/11/2022           290,000.00   Shareholder advance / loan repayment
  Farroukh Zaidi                          10/7/2022           350,000.00   Shareholder advance / loan repayment
  Farroukh Zaidi                         11/10/2022           400,000.00   Shareholder advance / loan repayment
  Farroukh Zaidi Total                                      1,982,000.00
  Natural Gas Vehicles Texas Inc          11/4/2021           100,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc         11/12/2021           100,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc         11/16/2021            20,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc         11/19/2021               900.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc         11/22/2021            57,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc         11/29/2021           118,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc          12/3/2021            10,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc          12/9/2021             5,500.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc         12/21/2021           100,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc         12/30/2021           387,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc           1/4/2022            15,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc           1/5/2022            30,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc          1/18/2022            10,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc          1/19/2022            20,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc          1/21/2022            62,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc           2/8/2022            26,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc          2/14/2022             4,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc          2/16/2022             4,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc          2/17/2022            50,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc          2/18/2022            30,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc           3/4/2022            75,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc           3/9/2022             1,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc          3/11/2022            17,500.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc          4/18/2022               100.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc          4/19/2022               500.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc          4/21/2022             1,700.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc          4/22/2022            30,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc          5/11/2022            75,400.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc          5/26/2022           175,337.20          Intercompany transfer
  Natural Gas Vehicles Texas Inc           6/7/2022            35,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc          6/17/2022           150,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc          7/21/2022            12,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc           8/1/2022             7,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc           8/2/2022             3,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc           8/5/2022             2,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc          8/11/2022             7,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc          8/29/2022             7,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc          9/28/2022            14,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc         10/14/2022             5,200.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc         10/24/2022            18,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc         10/26/2022             8,500.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc         10/27/2022            10,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc         10/31/2022             7,000.00          Intercompany transfer
  Natural Gas Vehicles Texas Inc          11/9/2022               600.00          Intercompany transfer
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EXHIBIT 4

  Payee                                       Date       Amount                         Reason for Payment
  Natural Gas Vehicles Texas Inc              11/17/2022                523.00         Intercompany transfer
  Natural Gas Vehicles Texas Inc Total                            1,812,760.20
  Wing Power Systems Inc                         2/8/2022            15,000.00      Unsecured loan repayment
  Wing Power Systems Inc                        2/10/2022            40,000.00      Unsecured loan repayment
  Wing Power Systems Inc                        2/17/2022           200,000.00      Unsecured loan repayment
  Wing Power Systems Inc                         4/5/2022            20,000.00      Unsecured loan repayment
  Wing Power Systems Inc                        5/11/2022            49,000.00      Unsecured loan repayment
  Wing Power Systems Inc                        5/26/2022           426,500.00      Unsecured loan repayment
  Wing Power Systems Inc                         8/5/2022             7,500.00      Unsecured loan repayment
  Wing Power Systems Inc                        8/19/2022            20,000.00      Unsecured loan repayment
  Wing Power Systems Inc                        8/23/2022            30,000.00      Unsecured loan repayment
  Wing Power Systems Inc                         9/1/2022             2,110.00      Unsecured loan repayment
  Wing Power Systems Inc                        9/23/2022            25,000.00      Unsecured loan repayment
  Wing Power Systems Inc                        9/27/2022             9,000.00      Unsecured loan repayment
  Wing Power Systems Inc                       10/11/2022            18,000.00      Unsecured loan repayment
  Wing Power Systems Inc                       10/26/2022            22,000.00      Unsecured loan repayment
  Wing Power Systems Inc                       10/27/2022               250.00      Unsecured loan repayment
  Wing Power Systems Inc                       10/28/2022             1,000.00      Unsecured loan repayment
  Wing Power Systems Inc Total                                      885,360.00
  Natural Gas Supply LLC                        11/4/2021            50,000.00         Intercompany transfer
  Natural Gas Supply LLC                       11/24/2021             6,900.00         Intercompany transfer
  Natural Gas Supply LLC                       12/30/2021            36,762.00         Intercompany transfer
  Natural Gas Supply LLC                        1/14/2022             6,100.00         Intercompany transfer
  Natural Gas Supply LLC                        1/19/2022             5,000.00         Intercompany transfer
  Natural Gas Supply LLC                        1/31/2022               110.00         Intercompany transfer
  Natural Gas Supply LLC                         2/4/2022               500.00         Intercompany transfer
  Natural Gas Supply LLC                         2/7/2022            19,700.00         Intercompany transfer
  Natural Gas Supply LLC                         2/8/2022            10,000.00         Intercompany transfer
  Natural Gas Supply LLC                        2/16/2022            70,900.00         Intercompany transfer
  Natural Gas Supply LLC                         3/3/2022            15,000.00         Intercompany transfer
  Natural Gas Supply LLC                         3/4/2022            36,400.00         Intercompany transfer
  Natural Gas Supply LLC                        3/17/2022             4,000.00         Intercompany transfer
  Natural Gas Supply LLC                        3/18/2022             9,300.00         Intercompany transfer
  Natural Gas Supply LLC                        3/21/2022            17,406.00         Intercompany transfer
  Natural Gas Supply LLC                        3/28/2022             3,500.00         Intercompany transfer
  Natural Gas Supply LLC                        3/31/2022            15,000.00         Intercompany transfer
  Natural Gas Supply LLC                         4/1/2022            16,000.00         Intercompany transfer
  Natural Gas Supply LLC                         4/6/2022            24,307.62         Intercompany transfer
  Natural Gas Supply LLC                        4/25/2022           149,162.00         Intercompany transfer
  Natural Gas Supply LLC                        4/26/2022            10,000.00         Intercompany transfer
  Natural Gas Supply LLC                        5/26/2022            88,600.00         Intercompany transfer
  Natural Gas Supply LLC                        7/25/2022            20,000.00         Intercompany transfer
  Natural Gas Supply LLC                         8/3/2022            15,000.00         Intercompany transfer
  Natural Gas Supply LLC                         8/5/2022            20,000.00         Intercompany transfer
  Natural Gas Supply LLC                        8/11/2022             1,000.00         Intercompany transfer
  Natural Gas Supply LLC                        8/16/2022             3,000.00         Intercompany transfer
  Natural Gas Supply LLC                        8/19/2022            70,000.00         Intercompany transfer
  Natural Gas Supply LLC                        8/29/2022             3,000.00         Intercompany transfer
  Natural Gas Supply LLC                       10/24/2022             3,000.00         Intercompany transfer
  Natural Gas Supply LLC                       10/25/2022            14,000.00         Intercompany transfer
  Natural Gas Supply LLC                       10/26/2022             2,800.00         Intercompany transfer
  Natural Gas Supply LLC                       10/28/2022            65,000.00         Intercompany transfer
  Natural Gas Supply LLC                       11/18/2022               550.00         Intercompany transfer
  Natural Gas Supply LLC Total                                      811,997.62
  First Capital Bank of Texas                   2/16/2022            73,749.86   Secured debt of Natural Gas Supply
  First Capital Bank of Texas                   4/25/2022            93,003.01   Secured debt of Natural Gas Supply
  First Capital Bank of Texas                   5/25/2022           190,658.97   Secured debt of Natural Gas Supply
  First Capital Bank of Texas                   7/20/2022            78,040.81   Secured debt of Natural Gas Supply
  First Capital Bank of Texas                   7/22/2022            19,253.15   Secured debt of Natural Gas Supply
  First Capital Bank of Texas                   8/29/2022            19,253.15   Secured debt of Natural Gas Supply
  First Capital Bank of Texas                    9/8/2022             7,875.96   Secured debt of Natural Gas Supply
  First Capital Bank of Texas Total                                 481,834.91
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NVG Global Group Inc.
EXHIBIT 4

  Payee                                                Date       Amount                         Reason for Payment
  First Capital Bank of Texas                           4/25/2022         92,713.75   Secured debt of Natural Gas Vehicles of Texas
  First Capital Bank of Texas                           5/25/2022        185,677.50   Secured debt of Natural Gas Vehicles of Texas
  First Capital Bank of Texas                           7/20/2022         92,713.75   Secured debt of Natural Gas Vehicles of Texas
  First Capital Bank of Texas Total                                      371,105.00
  Northwest Dallas Development One LLC                  11/3/2021         40,000.00                       Rent
  Northwest Dallas Development One LLC                 11/29/2021         38,000.00                       Rent
  Northwest Dallas Development One LLC                 12/28/2021         39,000.00                       Rent
  Northwest Dallas Development One LLC                   3/7/2022         39,500.00                       Rent
  Northwest Dallas Development One LLC                  5/25/2022         38,775.00                       Rent
  Northwest Dallas Development One LLC                  7/22/2022          5,000.00                       Rent
  Northwest Dallas Development One LLC                 10/11/2022         45,005.00                       Rent
  Northwest Dallas Development One LLC Total                             245,280.00
  Dallas Art Development LLC                             7/7/2022          4,000.00            Unsecured loan repayment
  Dallas Art Development LLC                             8/8/2022         13,000.00            Unsecured loan repayment
  Dallas Art Development LLC                            9/29/2022          8,300.00            Unsecured loan repayment
  Dallas Art Development LLC                           11/18/2022        200,000.00            Unsecured loan repayment
  Dallas Art Development LLC Total                                       225,300.00
  Southwest Airlines Federal Credit Union               8/31/2022         55,640.23      Payment on shareholder personal debt
  Southwest Airlines Federal Credit Union              10/11/2022         36,320.92      Payment on shareholder personal debt
  Southwest Airlines Federal Credit Union              10/20/2022         25,100.00      Payment on shareholder personal debt
  Southwest Airlines Federal Credit Union              11/15/2022         38,630.00      Payment on shareholder personal debt
  Southwest Airlines Federal Credit Union Total                          155,691.15
  Faisal Reza                                          12/13/2021             7,600       Rent for property leased by NVG RE
  Faisal Reza                                            1/5/2022             7,600       Rent for property leased by NVG RE
  Faisal Reza                                            2/8/2022             7,600       Rent for property leased by NVG RE
  Faisal Reza                                            3/8/2022             7,600       Rent for property leased by NVG RE
  Faisal Reza                                            4/8/2022             7,600       Rent for property leased by NVG RE
  Faisal Reza                                            5/6/2022             7,600       Rent for property leased by NVG RE
  Faisal Reza                                           6/22/2022             7,600       Rent for property leased by NVG RE
  Faisal Reza                                            7/1/2022             7,600       Rent for property leased by NVG RE
  Faisal Reza                                           8/15/2022             7,600       Rent for property leased by NVG RE
  Faisal Reza                                            9/9/2022             7,600       Rent for property leased by NVG RE
  Faisal Reza Total                                                       76,000.00
  Jabeen Zaidi                                          6/17/2022         50,000.00            Unsecured loan repayment
  Jabeen Zaidi Total                                                      50,000.00
  Wallis State Bank                                    11/15/2022         24,996.99      Payment on shareholder personal debt
  Wallis State Bank Total                                                 24,996.99
  International Vehicle Sale & Leasing                   6/7/2022          1,000.00              Intercompany transfer
  International Vehicle Sale & Leasing                  8/29/2022         20,000.00              Intercompany transfer
  International Vehicle Sale & Leasing                   9/1/2022          3,934.73              Intercompany transfer
  International Vehicle Sale & Leasing Total                              24,934.73
  WABASH                                               11/16/2022         22,683.28         Payment to Wing Power vendor
  WABASH Total                                                            22,683.28
  Neighborhood Credit Union                            10/14/2022         14,974.78   Loan payment on shareholder personal debt
  Neighborhood Credit Union Total                                         14,974.78
